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                                                                         UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                  5
                                         Courtney McMillian
                                  6                              Plaintiff(s)                     Case No. 3:23-cv-03461-JCS
                                                 v.
                                  7                                                               CONSENT OR DECLINATION
                                         X Corp. f/k/a/ Twitter, Inc., Elon Musk., X Holdings     TO MAGISTRATE JUDGE
                                  8                                                               JURISDICTION
                                                                 Defendant(s).
                                  9

                                  10

                                  11   INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
                                       or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
                                  12   jurisdiction in this matter. Sign this form below your selection.
Northern District of California




                                  13
 United States District Court




                                           ☒ Consent to Magistrate Judge Jurisdiction
                                  14
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
                                  15   United States magistrate judge conduct all further proceedings in this case, including trial and
                                       entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                  16   United States Court of Appeals for the Ninth Circuit.
                                  17
                                               OR
                                  18
                                           ☐ Decline Magistrate Judge Jurisdiction
                                  19
                                               In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                  20
                                       magistrate judge conduct all further proceedings in this case and I hereby request that this case
                                  21   be reassigned to a United States district judge.

                                  22
                                       DATE: July 21, 2023                                      NAME:
                                                                                                        Kate Mueting
                                  23
                                                                                       COUNSEL FOR
                                  24                                                   (OR “PRO SE”):
                                                                                                        Plaintiff Courtney McMillian

                                  25

                                  26                                                                                    Signature
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                                                Case 3:23-cv-03461-JCS Document 10 Filed 07/21/23 Page 2 of 2




                                  1                                    CERTIFICATE OF SERVICE

                                  2           I hereby certify that on 21 day of July, 2023, I electronically filed the foregoing with the

                                  3    Clerk of the Court using the CM/ECF System which in turn automatically generated a Notice of

                                  4    Electronic Filing (NEF) to all parties in the case who are registered users of the CM/ECF

                                  5    system. I also served the forgoing on the following individuals via U.S. and electronic mail:

                                  6

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                                  19

                                  20                                                       By: /s/ Kate Mueting
                                                                                           Kate Mueting (D.C. Bar No. 988177)
                                  21                                                       (pro hac vice application forthcoming)
                                  22
                                                                                           kmueting@sanfordheisler.com
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